Exhibit 1 Case 1:21-cv-00962-UNA Document 1-1 Filed 06/30/21 Page 1 of 31 PageID #: 7
                                                                                                                    USOO9497035B2


       (12) United States Patent                                                           (10) Patent No.:                        US 9,497,035 B2
              Dai et al.                                                                   (45) Date of Patent:                              Nov. 15, 2016
       (54) METHOD, DEVICE, AND SYSTEM FOR                                                      USPC ............. 709/231, 203; 710/36, 57; 715/767;
              PLAYING MEDIA BASED ON P2P                                                                                 714/748; 370/252, 352,390; 725/25,
       (75) Inventors: Fen Dai, Shenzhen (CN); Tieying                                                                         725/86–88, 93-95,97-98, 101
                       Wang, Shenzhen (CN); Zhefeng Yan,                                        See application file for complete search history.
                       Shenzhen (CN)                                                  (56)                           References Cited
       (73) Assignee: Huawei Technologies Co., Ltd.,                                                       U.S. PATENT DOCUMENTS
                       Shenzhen (CN)
       (*) Notice: Subject to any disclaimer, the term of this                                5,945,987 A *           8/1999 Dunn ............................ 715,718
                       patent is extended or adjusted under 35                          2002/0041606 A1*             4/2002 Chin et al. .................... 370/468
                       U.S.C. 154(b) by 491 days.                                                                         (Continued)
       (21) Appl. No.: 12/950,778                                                                      FOREIGN PATENT DOCUMENTS
       (22) Filed:     Nov. 19, 2010
                                                                                      CN                      1604569 A           4/2005
       (65)               Prior Publication Data
                                                                                      CN                      1863.054 A         11 2006
              US 2011 FOO67074 A1         Mar. 17, 2011                                                                   (Continued)
                     Related U.S. Application Data
                                                                                                              OTHER PUBLICATIONS
       (63) Continuation           of          application                No.
            PCT/CN2009/070375, filed on Feb. 6, 2009.                                 iStreamPlanet, Delivering Live and On-Demand Smooth Stream
       (30)        Foreign Application Priority Data                                  ing, Microsoft, p. 28.*
                                                                                                                          (Continued)
         May 20, 2008      (CN) .......................... 2008 1 OO97892
       (51) Int. C.                                                                   Primary Examiner — Benjamin R Bruckhart
              H04L 12/18             (2006.01)                                        Assistant Examiner — Jen-Shi Huang
              H04L 29/08             (2006.01)                                        (74) Attorney, Agent, or Firm — Brinks Gilson & Lione
                               (Continued)
                                                                                      (57)                               ABSTRACT
       (52)   U.S. C.
              CPC. H04L 12/1827 (2013.01); H04L 29/08729                              A P2P based method for playing media is provided. The
                       (2013.01); H04L 65/4084 (2013.01);                             method includes logging in a network; selecting a live
                        (Continued)                                                   broadcasting service or a video-on-demand service, and
                                                                                      receiving a judgment result on whether to buffer a data flow
       (58)   Field of Classification Search                                          corresponding to the live broadcasting service or the video
              CPC ................... H04N 21/2225; H04N 21/23106;                    on-demand service; obtaining the corresponding data flow
                          H04N 21/2385; H04N 21/2396; H04N                            according to a selection result, and buffering the data flow
                     21/26275: H04N 21/26616; H04N 21/.4331;                          when the judgment result is yes; and providing the buffered
                         H04N 21/47202; H04N 21/6405; H04N                            corresponding data flow for a video-on-demand node or a
                       21/6587; H04N 7/17336; H04N 21/2187;                           live broadcasting node as a data source of the live broad
                            H04N 21/632; H04L 12/1827; H04L                           casting service or the video-on-demand service.
                         65/4084; H04L 29/08729; H04L 65/80;
                                                         HO4L 67/1074                                     18 Claims, 16 Drawing Sheets
                                                Live broadcasting application       Video-on-demand topology structure
                                                        Live ES

                                                                  ar
                                               C                          ---
                                                                A.            st
                                                    B                       ---
                                                                 G    -----------
                                               D


                                                         Live broadcasting node
                                                         added to the system for              Wideo-on-demand SN
                                                         the first time
                                                         Live broadcasting node               Idle node providing
                                                         providing data flow for              data flow for the
                                                         the video-on-demand                  video-on-demand
                                                         Common video
                                                         on-demand node
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(52) U.S. Cl.
       CPC ........... H04L65/80 (2013.01); H04L 67/1074                                         OTHER PUBLICATIONS
                 (2013.01); H04N 2 1/4331 (2013.01); H04N
                 21/632 (2013.01); H04N 2 1/2 187 (2013.01);                  Office Action issued in corresponding Chinese Patent Application
                                  H04N 2 1/47202 (2013.01)                    No. 200810097892.6, mailed May 9, 2012.
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           31
                         Content management module
           32
                       Content communication module
           33
                     Content block management module
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                                                 SN ID
                                                PeerAddr
                       SN List                  PeerNum

                                               SN Resouce
                                      FIG. 5


          61
                                 User management module
            611
                                  Judging Sub-module
           62

            621
                  N           Topology management module
                               Live broadcasting topology
                                management sub-module
            622
                              Video-on-demand topology
                               management Sub-module
           63
                              Server management module

                                      FIG. 6
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                         Node state recording module

                                Judging module

                                FIG 7

           81
                                 Log-in module
            811
                            Buffer judging sub-module
            812
                             Registration sub-module
           82
                             Mode selection module
           83
                          Information obtaining module
           84
                                Storage module
            841
                            Downloading sub-module
            842
                               Buffer sub-module


                                FIG. 8
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     Live broadcasting                         Video-on-demand
     topology structure                        topology structure




                Live broadcasting node
                added to the system for       {O Video-on-demand SN
                the first time
                Live broadcasting node                    Idle node providing
     (O) providing data flow for
         the video-on-demand
                                              O Video-on-demand
                                                data flow for the
                Common video
                on-demand node

                                      FIG 9
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     Live broadcasting application       Video-on-demand topology Structure




              Live broadcasting node
              added to the system for      <O Video-on-demand SN
              the first time
              Live broadcasting node                Idle node providing
     (O) the
         providing data flow for
             video-on-demand
                                           O video-on-demand
                                             data flow for the
              Common Video
              on-demand node

                                     FIG 10
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       Liveapplication
             broadcasting        Video-on-demand topology structure




             Live broadcasting node                    4.
             added to the system for     {O Video-on-demand SN
             the first time
              Live broadcasting node              Idle node providing
    (O) providing data flow for
        the Video-on-demand
                                                  data flow for the
                                                  Video-on-demand
              Common Video
              on-demand node

                                 FIG 11
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               The node enters the system.

                     Log in the RRS

                       Whether the                    NO
              content is buffered in terminal
                           disks?

        Obtain the VOD ES corresponding to the
                     buffered content

            Obtain the SN from the VOD ES
          Register the information of the locally
                buffered content at the SN

                   Click the program
                        Select the                     VOD
             live broadcasting or the video
                       on-demand
                                      Live
               Obtain the Live ES, the                Obtain the VOD ES, a set of
           neighboring nodes, the VOD ES,            the nodes neighboring the play
             and storage information Flag                 point, and the storage
                     from the RRS                    information Flag from the RRS
    TO FIG. 12B       TO FIG. 12B                             TO FIG. 12B

                                 FIG. 12A
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    CONT. FROM        CONT. FROM                          CONT. FROM
      FIG. 12A          FIG. 12A                            F.G. 12A

      Obtain quick data buffer from the         Obtain the SN and the data
                  Live ES                        buffer from the VOD ES
      Obtain the SN from the VOD ES Obtain the node set from the SN
      Establish the Connection With the         Select the node to establish
       neighboring node, and request            the Connection, and request
                  the data                                the data


                                 Obtain the data flow

                                 Obtain Sufficient data               NO
                                             YES
                              Report to the appointed SN
                      Receive the storage information Flag 1
                               returned by the SN
                                      FlagllFlag 1                     False
                                                True
               Store the complete data block, and deregister the
                       block at the SN if the storage fails
                                                                        NO
            Others           Switch the program and mode             operation
                                                OFF
                                          End
                                     FIG. 12B
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     S1301. Open
    the log-in page
           S1302. Log in and
                report
             S1303. Return
          relevant VOD ESS
                  S1304. Request the SN

                    S1305. Return the SN

         —       S1306. Register the file block information
                                                                 S1307. Modify
                         S1308. Return the registration result    the Reginfo
         -                                                            -
                                     FIG. 13
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     S1401. Click the
     live broadcasting
         program
            S1402. Log in
              and report
          S1403. Return the
            VOD ES, the
          Live ES, the live
            broadcasting
         neighboring nodes,
         and the information
            of whether to
         buffer the program
          S1404. Establish a connection
               and request the data
               S1405. Return the data
              S1406. Request the SN of the live
                    broadcasting content
                     S1407. Return the SN
                                  S1408. Request the data
                                         Return the data
                     S1410. Perform the content registration at
     S1409. Detect     the SN (the SN determines whether to
     that the report buffer the block according to the file
       is required        buffer result and the distribution
                       condition of the blocks in the domain)
                                                           S1411. Modify
                                                             the Reginfo
                 S1412. Return the registration result

                                         FIG. 14
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                                                              PeerD
                                                             PeerAddr

        voD Es Live ES              Flag Neighborlist         Relation

                                    FIG 15
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     S1601. Click the
    Video-on-demand
        program
         S1602. Log in and report
             S1603. Return the
            VOD ES, the nodes
          neighboring to the play
               point, and the
          information of whether
           to buffer the program
           S1604. Establish a connection and
              request the data and the SN

               S1606. Request a connectable node set




     S1609. Detect    S1610. Perform the content registration at the SN
     that the report (the SN determines whether to buffer the block
       is required        according to the file buffer result and the
                     distribution condition of the blocks in the domain)
                                                        S1611. Modify
                                                         the Reginfo
                S1612. Return the registration result

                                    FIG 16
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           Set the number of the buffer nodes            S1701
        required by the service to the file level
          threshold, and set the number of the
        buffered content blocks required by the
            Service to the content block level
                         threshold
                                                             S1703

   S1702
                                                               Judge whether to
                     Judge whether                             perform file-level
               the existing buffer nodes                       buffer on the data
             recorded in the RRS is greater                  flow corresponding to
                    than the file level                      the live broadcasting
                        threshold                            Service or the video
                                                              on-demand service
                       Yes
                                                         S1705

   S1704
                      Not perform
                 file-level buffer on the                Judge whether to
            data flow, and compare whether          No perform content-block
           the number of the buffered content                buffer on the current
              blocks recorded in the SN is                      content block
                greater than the content
                       block level
                        threshold
   S1706
                       Yes

        Judge that the data flow and the current
             content block are not buffered

                                     FIG. 17
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        S1801. Drag
       under the live
     broadcasting mode
           S1802. Deregister from
            the live broadcasting
             mode, and enter the
          Video-on-demand mode
             S1803. Return the
           nodes neighboring the
            time point, and the
               information of
            whether to buffer the
                program file
            S1804. Request quick data buffer
                  S1805. Return the data

                S1806. Request a connectable node set
                        S1807. Return the node set
                            S1808. Request data
                                    Return the data
     S1809. Detect    S1810. Perform the content registration
     that the report atthetheblock
                               SN (the SN determines whether
       is required file bufferisresult
                                    buffered according to the
                                         and the distribution
                      condition of the blocks in the domain)
                                                         S1811. Modify
                                                          the Reginfo
                  S1812. Return the registration result

                                        FIG. 18
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     S1901. Switch
       the mode

            S1902. Notify that that the
               node exits from the
            program live broadcasting         S1903. Notify the
                                              neighboring nodes

                                                                  S1904. Self
                                                                  organize the
                                                                  connection


                                     FIG. 19
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                                                    US 9,497,035 B2
                              1.                                                                  2
       METHOD, DEVICE, AND SYSTEM FOR                                 live broadcasting service and a video-on-demand video
            PLAYING MEDIA BASED ON P2P                                service and realizing a free switch between the two play
                                                                      modes.
           CROSS-REFERENCE TO RELATED                                    In an embodiment, the present invention provides a P2P
                  APPLICATIONS                                        based method for playing media, which includes the fol
                                                                      lowing steps.
  This application is a continuation of International Appli              Log in a network.
cation No. PCT/CN2009/070375, filed on Feb. 6, 2009,                     Select a live broadcasting service or a video-on-demand
which claims priority to Chinese Patent Application No.          10
                                                                      service, and receive a judgment result on whether to buffer
200810097892.6, filed on May 20, 2008, both of which are              a data flow corresponding to the live broadcasting service or
hereby incorporated by reference in their entireties.                 the video-on-demand service.
             FIELD OF THE TECHNOLOGY
                                                                         Obtain the corresponding data flow according to a selec
                                                                      tion result, and buffer the data flow when the judgment result
                                                                 15   is yes.
   The present invention relates to the field of multimedia              Provide the buffered corresponding data flow for a video
transmission, and more particularly to a method, device and           on-demand node or a live broadcasting node as a data source
system for playing media based on P2P (peer-to-peer).
                                                                      of the live broadcasting service or the video-on-demand
           BACKGROUND OF THE INVENTION                                service.
                                                                         In another embodiment, the present invention also pro
  Along with the popularization of the Internet technology,           vides a node, which includes a log-in module, a mode
in the late 90s, P2P application represented by Napster               selection module, an information obtaining module, and a
begins to be popularized in the Internet. P2P refers to               storage module.
peer-to-peer computing or a peer-to-peer networking, in                  The log-in module is configured to log in a network.
which nodes share sources and services through direct            25      The mode selection module is configured to select a live
exchanging, and each node may be a server or a client.                broadcasting service or a video-on-demand service.
  Generally, a P2P based video service includes two types,               The information obtaining module is configured to
namely, a live broadcasting service and a video-on-demand             receive network information required by the live broadcast
service.                                                              ing service or the video-on-demand service selected by the
   The video live broadcasting refers to that the server plays   30   mode selection module and a judgment result on whether to
programs at fixed time, and the user views the programs at            buffer a data flow corresponding to the live broadcasting
the terminal, which is like the play mode of televisions. The         service or the video-on-demand service.
topology architecture has the following features. The topol             The storage module is configured to obtain the data flow
ogy is constructed by using the server as a center, and each          according to a selection result of the mode selection module,
live broadcasting edge server is responsible for managing a      35   and buffer the data flow when the judgment result obtained
part of the programs, interacting with a Peer (node), pro             by the information obtaining module is yes.
viding a program data buffer, and inserting the newly added             In another embodiment, the present invention further
node to a certain position of the topology.                           provides a user request routing system (RRS), which
   The video video-on-demand refers to a service capable of           includes a user management module, a topology manage
providing an interactive video service at any time when the      40   ment module, and a server management module.
user requires. The topology architecture has the following              The user management module is configured to manage
features. The video-on-demand topology architecture is con            information of a node.
structed by using the server as a center, and may be                    The topology management module is configured to man
particularly in a net manner or a tree manner, Super nodes            age topology structure information of live broadcasting and
(SNs) construct the backbone network, and each SN is             45   Video-on-demand in the system.
responsible for managing a certain region, and interacting              The server management module is configured to manage
with the Peer, so as to provide a connectable node list.              information of each edge server (ES).
   During a procedure of implementing the present inven                 In another embodiment, the present invention further
tion, the inventors find that the prior art at least has the          provides a core server (CS), which includes an information
following disadvantages. The functions of the live broad         50   index module, a content blocking module, and a content
casting and the video-on-demand in the P2P based video                distribution module.
service system are independently realized, and the two play             The information index module is configured to extract
manners are not interfused, such that the two manners                 metadata from a content source, and generate index infor
respectively have some problems. The living broadcasting              mation.
program is Smooth and clear, but cannot be dragged; and the      55     The content blocking module is configured to block the
Video-on-demand program satisfies the desire of the user of           content Source, and determine an encoding format.
playing the program at any moment, but the user needs to                The content distribution module is configured to distrib
query the relevant program, Such that a drag delay is large           ute the index information generated by the information
with a long buffer time, and a program Smoothness needs to            index module and content blocked by the content blocking
be improved. Further, each terminal node has one disk            60   module to corresponding ESS.
configured to buffer the data already viewed by the user, but           In another embodiment, the present invention further
the buffered data is not fully utilized.                              provides a live broadcasting service edge server (Live ES),
                                                                      which includes a content management module, a content
            SUMMARY OF THE INVENTION                                  communication module, and a content block management
                                                                 65   module.
  Accordingly, the present invention is directed to a P2P                The content management module is configured to manage
based method for playing media, capable of interfusing a              locally saved data.
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                                                    US 9,497,035 B2
                            3                                                                      4
  The content communication module is configured to                           BRIEF DESCRIPTION OF THE DRAWINGS
obtain locally required content, and process a received
request.                                                                FIG. 1 is a schematic structural view of a P2P based
   The content block management module is configured to               system for playing media according to an embodiment of the
perform a block encoding on the obtained content.                     present invention;
   In another embodiment, the present invention further                 FIG. 2 is a schematic structural view of a CS according to
provides a video-on-demand service edge server                        an embodiment of the present invention;
(VOD ES), which includes a content management module,                   FIG. 3 is a schematic structural view of a Live ES
a content communication module, an SN management mod                  according to an embodiment of the present invention;
ule, and a cluster management module.                            10     FIG. 4 is a schematic structural view of a VOD ES
   The content management module is configured to manage              according to an embodiment of the present invention;
                                                                        FIG. 5 is a schematic structural view of data stored in the
locally saved data.                                                   VOD ES according to an embodiment of the present inven
   The content communication module is configured to                  tion;
obtain locally required content, and process a received          15      FIG. 6 is a schematic structural view of an RRS according
request.                                                              to an embodiment of the present invention;
  The SN management module is configured to manage,                      FIG. 7 is a schematic structural view of an SN according
according to the data managed by the content management               to an embodiment of the present invention;
module, an SN corresponding to the data.                                FIG. 8 is a schematic structural view of a terminal node
  The cluster management module is configured to perform              according to an embodiment of the present invention;
an SN selection and an SN deregistration on accessed nodes.              FIG. 9 is a schematic topology diagram of the P2P based
  In another embodiment, the present invention further                system for playing media according to the embodiment of
provides an SN, which includes a node state recording                 the present invention;
module and a judging module.                                             FIG. 10 is a schematic topology diagram of a live broad
  The node state recording module is configured to record        25   casting node Subsequently added with a video-on-demand
state information of each node in a domain.                           according to an embodiment of the present invention;
  The judging module is configured to judge whether the                  FIG. 11 is a schematic topology diagram of a node
number of buffer nodes of content blocks of a data flow               Switching from a live broadcasting mode to a video-on
corresponding to a live broadcasting service or a video-on            demand mode according to an embodiment of the present
demand service is smaller than a set content block level         30   invention;
threshold, according to the state information of each node in           FIG. 12 is a schematic flow chart on a client of a P2P
the domain recorded by the node state recording module.               based method for playing media according to an embodi
   In another embodiment, the present invention further               ment of the present invention;
provides a P2P based system for playing media, which                     FIG. 13 is a schematic flow chart of a log-in process of a
includes a CS, at least one Live ES, VOD ES, RRS, SN,            35   node according to an embodiment of the present invention;
and node.                                                                FIG. 14 is a schematic view of an operation process of the
  The CS is configured to perform a uniform encoding                  live broadcasting mode according to an embodiment of the
process on a content source, and send the processed content           present invention;
source to the corresponding Live ES or VOD ES.                           FIG. 15 is a list of a data structure returned by the RRS
  The Live ES is configured to provide a data flow required      40   under the live broadcasting mode according to an embodi
by a live broadcasting service.                                       ment of the present invention;
  The VOD ES is configured to provide a data flow                        FIG. 16 is a schematic view of an operation process of the
required by a video-on-demand service.                                Video-on-demand mode according to an embodiment of the
  The RRS is configured to manage the Live ES, the                    present invention;
VOD ES, and the node in a network.                               45      FIG. 17 is a schematic flow chart of judging whether to
  The SN is configured to manage each node and content in             buffer the content according to an embodiment of the present
a domain.                                                             invention;
  The node is configured to obtain, transmit, and store the             FIG. 18 is a schematic view of an operation process of
data flow corresponding to the live broadcasting service or           Switching from the live broadcasting mode to the video-on
the video-on-demand service.                                     50   demand mode by dragging the live broadcasting node
  The technical solutions of some embodiments of the                  according to an embodiment of the present invention; and
present invention have the following advantages. By fully               FIG. 19 is a schematic flow chart of a node exiting from
utilizing characteristics of the live broadcasting service and        the live broadcasting according to an embodiment of the
the video-on-demand video service, the live broadcasting              present invention.
and video-on-demand video service can be interfused to           55
realize a free switch from the live broadcasting to the                            DETAILED DESCRIPTION OF THE
video-on-demand. Meanwhile, a disk buffer method is                                       EMBODIMENTS
improved. Such that program sources may be uniformly
distributed and connectable nodes are increased, and the data            In an embodiment, the present invention provides a P2P
buffered in user node disks is applied to the video-on           60   based method for playing media. On a basis of realizing
demand. In addition, according to a source distribution               functions of a live broadcasting and a video-on-demand, the
condition, the system judges whether to buffer the currently          live broadcasting and the video-on-demand are organically
viewed program, Such that Sufficient contents are ensured to          combined, so as to realize a free switch from the live
be used for network applications, thus avoiding waste                 broadcasting to the video-on-demand. Meanwhile, a disk
caused by the over much content stored repeatedly, increas       65   buffer method is modified, such that program sources may
ing the utilization ratio of network resources, and improving         be uniformly distributed and connectable nodes are
the use experience of users.                                          increased, data buffered in user node disks is applied to the
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                                5                                                                    6
Video-on-demand, and nodes in a video service system are             mation. The index information is metadata information of a
in a state that the video-on-demand and the live broadcasting        program, including key frames of the program and other
coexist. In addition, according to a source distribution             information.
condition, a system judges whether to buffer a currently                The content blocking module 22 is configured to block the
viewed program, Such that Sufficient contents are ensured to         content Source by adopting a certain encoding format.
be used for network applications, thus avoiding waste                   The content distribution module 23 is configured to
caused by the over much content stored repeatedly, increas           distribute the index information generated by the informa
ing the utilization ratio of network resources, and improving        tion index module 21 and the contents blocked by the
the use experience of users.                                    10
                                                                     content blocking module 22 to the corresponding ESs.
  FIG. 1 is a schematic structural view of a P2P based                  The index information is sent to the ESs together with the
system for playing media according to an embodiment of the           processed contents. Before performing the media play Ser
present invention. Referring to FIG. 1, the system includes          vice, the node firstly obtains the metadata information of the
at least one CS 1, Live ES 2, VOD ES 3, RRS4, SN 5, and              program from the ES, and then obtains corresponding data
node 6.                                                         15
                                                                     blocks according to the metadata.
   The CS 1 is the core server. When each program content               In addition, the CS 1 saves a corresponding relation
is added to the system as a data source, the program content         between the blocked content and the ES, and information
needs to be firstly processed by the CS, so as to ensure that        records of pushing the contents processed by the CS 1 to the
the program contents have the same encoding mode no                  ESs, and a data structure may adopt a manner of Table 1.
                                                                     Please refer to Table 1.
matter in the live broadcasting or the video-on-demand. That
is to say, the program contents having the same Content ID                                      TABLE 1.
have the same block encoding manner, and blocks corre
sponding to the contents in a live broadcasting system and                              List of Data Structure in CS
a video-on-demand system are consistent. The program                     Content ID    ES 1         ES 2               ES N
contents having the same block encoding manner and after        25
being processed by the CS are transmitted to the Live ES 2
and the VOD ES 3, so as to provide a program source for                 Particularly, Table 1 represents that ES 1, ES 2... ES N
a live broadcasting service and a video-on-demand service.           all have the program contents corresponding to the Content
The transmission manner includes transmitting the program            ID, and definitely, it may be further pointed out that the ESs
contents according to requests of the ESS (including the        30   provide the live broadcasting service or the video-on-de
                                                                     mand service.
Live ES 2 and the VOD ES3), or the CS 1 actively pushes                 The corresponding relation between the ES and the con
the program contents, that is to say, the CS 1 transmits the         tent as shown in the data structure may ensure that the CS
blocked contents to the Live ES 2 and the VOD ES 3.                  1 does not perform a repeated or conflicting process on the
   The RRS4 is configured to manage programs of the entire      35   same content, so as to ensure the efficiency of processing the
system, register and manage the contents on the Live ES 2            content. Meanwhile, if the CS 1 actively reports the program
and the VOD ES 3, provide a reference for source optimi              contents to the RRS 4, the data structure may be part of the
zation in the system. The CS 1 may actively report the               reported content, so as to provide a content management
program contents to the RRS 4, or the RRS 4 may perform              reference for the RRS 4.
content detection and detect the program contents sent by       40      The Live ES 2 is configured to provide a data flow
the CS 1 to the Live ES 2 and the VOD ES 3. Further,                 required by the live broadcasting service, and saves the
through the content detection the RRS 4 finds changes of the         blocked program content obtained from the CS 1. The
contents of the Live ES 2 and the VOD ES 3, so as to                 Live ES 2 becomes a provider of the block data in the
update the corresponding content record on the RRS 4. In             system, and provides for the node information of the rel
addition, the RRS 4 may further register and manage a           45   evant node storing the content requested by the node.
topology structure in the system.                                    Definitely, in order to ensure the quality of service (QoS) of
   As a manager of a domain of the VOD ES3, the SN5 is               the user, if the node cannot obtain the required data from the
configured to register and manage content blocks in different        nodes connected thereto, the node may also obtain the
nodes in the domain, and to further register through the             required data flow from the Live ES 2.
VOD ES the content blocks buffered in the node performing       50      Referring to FIG. 3, the Live ES 2 includes a content
the live broadcasting service in a live broadcasting network.        management module 31, a content communication module
By registering and managing the content blocks, the SN 5             32, and a content block management module 33.
provides the nodes for the node 6 to select an optimum                  The content management module 31 is configured to
Video-on-demand content after the node 6 accesses the                manage locally saved data, that is, manage the contents
system, and provides a video-on-demand service source for       55   being blocked again.
the node 6.                                                             The content communication module 32 is configured to
   The node 6 logs in a network through the RRS 4, and gets          obtain locally required contents from the CS 1, and process
to know which ES the content required by the node 6 is               obtaining requests sent by other nodes.
located through the RRS 4, so as to perform the correspond              The content block management module 33 is configured
ing live broadcasting service or the corresponding video        60   to perform a block encoding process again on the content
on-demand service.                                                   blocks generated by the CS 1.
  FIG. 2 is a schematic structural view of the CS 1.                    During the content distribution procedure, the encoding
Referring to FIG. 2, the CS 1 includes an information index          process needs to be performed on the contents, so as to form
module 21, a content blocking module 22, and a content               N+R blocks. That is to say, when the blocks distributed from
distribution module 23.                                         65   the CS to the ESs need to be distributed to other nodes, that
  The information index module 21 is configured to extract           is, other clients, the Live ES needs to perform the block
metadata from a content source, and generate index infor             encoding process again on the blocks, so as to form N
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                            7                                                                    8
original small blocks and R encoded blocks. N blocks are          node registers at the RRS 4, the RRS 4 returns a position of
randomly selected from the N+R encoded blocks, and the            the node in a live broadcasting topology to the node, returns
clients may restore the N blocks to the original content          nodes neighboring the position to the node, and assigns a
blocks.                                                           Live ES 2 to the node, so as to ensure the QoS of user
   The VOD ES 3 is configured to provide the data flow 5 experience. Each newly added video-on-demand node may
required by the video-on-demand service.                          obtain the VOD ES 3 from the RRS 4. Meanwhile, the RRS
   The VOD ES3 saves the blocked program contents from 4 manages all the nodes having the video-on-demand on the
the CS1, becomes a provider of the block data in the system,      same program, and Scheduling according to play time points,
and provides for the node the information of the relevant such that the newly added node may further obtain a set of
node storing the content requested by the node. Definitely, in 10 the nodes neighboring the play point.
order to ensure the QoS of the user, if the node cannot obtain
the required data from the nodes connected thereto, the node 6 isWhen      the node 6 logs in the RRS 4, no matter the node
                                                                       added  to the live broadcasting system or the video-on
may also obtain the required data flow from the VOD ES 3. demand system,            it is required for the RRS 4 to return the
The VOD ES3 may further manage and assign the contents
as the SN 5, and definitely, the SN 5 for managing and 15 program content to the VOD ES 3, and the node 6 obtains
assigning the contents may be separately set, but the SN 5 the SN 5 of the program content through the VOD ES3, and
needs to be determined by the VOD ES 3 and accepts the then performs the registration, such that content file blocks
management of the VOD ES 3. When the RRS 4 assigns the subsequently downloaded and stored by the node 6 may be
contents in the CS 1 to the VOD ES 3, the SN 5 is also            used by the video-on-demand node.
selected and managed by the VOD ES 3.                                Referring to FIG. 6, the RRS 4 includes a user manage
   Referring to FIG. 4, the VOD ES 3 includes a content ment module 61, a topology management module 62, and a
management module 41, a content communication module server management module 63.
42, a SN management module 43, and a cluster management              The user management module 61 is configured to manage
module 44.                                                        information of each node in the network, and assign a Peer
   The content management module 41 is configured to 25 ID to each logged-in node. Particularly, the user manage
manage the locally saved data, that is, the content blocks, in ment module 61 includes a judging Sub-module 611.
which the data may belong to different SNs, or belong to the         The judging Sub-module 611 is configured to judge
same SN.                                                          whether the number of buffer nodes of the content of the data
   The content communication module 42 is configured to flow corresponding to the live broadcasting service or the
obtain the locally required content, and process obtaining 30 video-on-demand service is smaller than a set file level
requests sent by other nodes.                                     threshold.
   The SN management module 43 is configured to manage               The topology management module 62 is configured to
SN nodes of different domains, and provide an interface for manage         topology structure information of the live broad
a user to query the SNs. A data structure is as shown in FIG. casting and      the video-on-demand in the system. The topol
5.                                                             35
   Content ID represents an ID of a certain program content.      ogy  management     module 62 includes a live broadcasting
   SN List represents a list of SNs managing the content in topology management Sub-module 621 and a video-on
the VOD ES.                                                       demand topology management Sub-module 622.
   SN ID represents an ID of a certain SN in the SN List.            The live broadcasting topology management Sub-module
   PeerAddr represents an address of the SN corresponding 40 621 is configured to manage the topology structure infor
to the SN ID.                                                     mation corresponding to the live broadcasting service.
   PeerNum represents the number of the nodes with regis             The video-on-demand topology management Sub-module
tered contents currently owned by the SN.                         622 is configured to manage the topology structure infor
   SN Resource represents a current performance using mation corresponding to the video-on-demand service.
State of the SN.                                               45    A data structure managed by the topology management
   The cluster management module 44 is configured to module on the RRS 4 may adopt a format as shown in Table
performan SN selection on the accessed nodes. Particularly, 2. Please refer to Table 2.
                                                                                      TABLE 2
                                                                              List of Data Structure in RRS
                                             ContentID MetaData     Live ES    WoD ES      Live         Video-on- VoD        Live
                                                                    List       List        Broadcasting demand    PeerNunn   PeerNum
                                                                                           Topology     Node List
                                                                                           Structure



the cluster management module 44 mainly performs the SN               ContentID represents an ID of a certain program content.
selection and the SN division on the logged-in nodes in the           MetalData represents metadata of the content, including a
entire VOD ES, and selects or deregisters the SN from the      60
                                                                    content time length, a code rate, and other information
nodes controlled by the VOD ES 3.                                   representing the content.
   The RRS 4 is configured to manage the Live ES 2, the               Live ES List represents a live broadcasting ES list of the
VOD ES 3, and the node 6 in the network.                            program content.
  No matter the user selects the video-on-demand or the live          VOD ES List represents a video-on-demand ES list of the
broadcasting, the nodes corresponding to the user need to           program content.
register at the RRS 4. The RRS 4 manages two systems,                  The live broadcasting topology structure records the live
namely, the video-on-demand system and the live broad               broadcasting nodes viewing the program, and a connection
casting system. When each newly added live broadcasting             relation among the nodes.
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                                                                                                           10
  The video-on-demand node list records the video-on                                                  TABLE 5
demand nodes viewing the program, and scheduling the
nodes according to play time points.                                                      Schematic Structural List of BlockInfo

   Live PeerNum and VOD PeerNum respectively represent                                   BlockID                     BlockNum
the number of the nodes currently viewing the live broad
casting and the number of the nodes currently viewing the                  ContentID represents an ID of a certain program content.
video-on-demand, and through the numbers, the RRS may                      PeerList represents a node list of the program content
return to a newly added node a message on whether to store               managed by the SN and the content block information of the
the received data.                                                  10   nodes.
   The live broadcasting topology management Sub-module                     BlockInfo represents the program content block informa
manages positions of all nodes added to the live broadcast               tion and the number of corresponding blocks.
ing system in a live broadcasting topology diagram, and                     PeerlD represents an ID corresponding to each node.
when a new node is added to the live broadcasting system,                   PeerAddr represents address information corresponding
the live broadcasting topology management Sub-module                15   to each node.
returns information of corresponding neighboring nodes to                  BlockBitmap represents content block information of the
the node. The video-on-demand topology management Sub                    node.
module is mainly configured to record the information of                    PeerState represents a state of the node, including a
each node added to the video-on-demand system, and when                  Video-on-demand state, a live broadcasting state, and an idle
a new node is added to the video-on-demand system, the                   state (that is, neither video-on-demand nor live broadcast
node returns nodes neighboring the play time point to the                ing). When the state of the node is changed, all SN nodes
new node.                                                                locally buffering the content are notified of changing the
   The server management module 63 is configured to                      corresponding PeerState.
manage the information of each ES.                                          BlockID represents an ID of a certain block of the
                                                                    25   program content.
   Particularly, the server management module 63 manages                    BlockNum represents the number of the blocks corre
the information of each ES in the system, so as to balance               sponding to the BlockID in the SN management domain.
the load among the edge servers in the system. When a node                  Each content block registers at the SN 5 for one time,
is added, the server management module 63 may select and                 when a bit corresponding to BlockBitmap corresponding to
transmit some ESS having better performances to the node.           30   PeerID is modified, BlockNum corresponding to the
   Referring to FIG. 7, the SN. 5 includes a node state                  BlockID of the registered block needs to be modified, and if
recording module 71 and a judging module 72.                             registration is required, it is marked by BlockNum++; oth
   The node state recording module 71 is configured to                   erwise, if a disk writing operation of the node fails, a
record the state information of each node in one domain.                 rollback is performed, the bit is modified, and it is marked
  The judging module 72 is configured to judge whether the          35   by BlockNum--.
number of buffer nodes of content blocks of the data flow                  In addition, a disk Volume of a certain user terminal is
corresponding to the live broadcasting service or the video              limited, so data replacement is required. When a newly
on-demand service is Smaller than a set content block level              downloaded content block replaces the original data block,
threshold, according to the state information of each node in            the node sends the information to notify the SN 5 of keeping
the domain recorded by the node state recording module 71.
                                                                    40   updating, such that the statistical data and the content
                                                                         distribution condition owned by the SN 5 are relatively
   The SN exists in the video-on-demand system, and is a                 accurate, a connectable node set obtained by the node is
node having an excellent performance selected by the                     more reliable, thus ensuring a hit rate during the connection.
VOD ES from many common nodes. The SN saves a data                         The SN 5 records the current State of the node. When the
structure, counts the node distribution condition of each           45   state of the node is changed, for example, the node Switches
block of each content in the management region, takes                    from the live broadcasting to the video-on-demand, or
statistics on the information of the node capable of providing           switches from the idle state to the video-on-demand mode to
the required data for other nodes in the domain, and judges              view the program, the SN at which the node is registered
whether to buffer the content blocks requested by the node.              needs to be notified of the change of the state, so the data of
A schematic view of a data structure Reginfo of SN 5 is             50   the SN is kept being updated.
shown in FIG. 3, in which a PeerList field and a BlockInfo                 When receiving the request of the node, the SN 5 selects
field are particularly as shown in Table 4 and Table 5.                  at least one connectable node from all the nodes in the
                                                                         domain according to a priority selecting rule, so as to form
                            TABLE 3                                      the connectable node set, and sends information of the
         Schematic Structural List of Data Structure RegInfo
                                                                    55   connectable node set to the corresponding requesting node.
                                                                         The priority selecting rule includes, but not limited to, a
                              ContentID                                  selecting rule according to a priority sequence of the idle
                              PeerList
                              BlockInfo
                                                                         node, the video-on-demand node, and the live broadcasting
                                                                         node.
                                                                    60      The node 6 is configured to receive the data flow corre
                                                                         sponding to the live broadcasting service or the video-on
                            TABLE 4                                      demand service. Referring to FIG. 8, the node 6 includes a
                Schematic Structural List of PeerList
                                                                         log-in module 81, a mode selection module 82, an informa
                                                                         tion obtaining module 83, and a storage module 84.
    PeerD          PeerAddr         BlockBitmap         PeerState   65      The log-in module 81 is configured to log in the network,
                                                                         and further includes a buffer judging sub-module 811 and a
                                                                         registration sub-module 812.
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  The buffer judging sub-module 811 is configured to judge             the video-on-demand topology structure (in the video-on
whether the buffer data exists on the node.                            demand mode (for example, H) or in the live broadcasting
   The registration sub-module 812 is configured to obtain             mode (for example, F)); or the nodes obtain the video flow
the video-on-demand service information corresponding to               from the idle node (for example, O) not viewing the program
the buffer data from the RRS 4 when the buffer judging                 but having the data in the disk buffer.
sub-module 811 judges that the buffer data exists on the                  Based on the network topology structure, the node may
node, and is configured to perform the information registra            realize the switch between the live broadcasting mode and
tion of the buffer data according to the video-on-demand               the video-on-demand mode.
service information.
   The mode selection module 82 is configured to select the       10
                                                                         In FIG. 9, after a period of time, the node A in the live
live broadcasting service or the video-on-demand service,              broadcasting mode buffers the video data, and adds to the
and report to the relevant ES.                                         Video-on-demand topology, so as to provide the data flow for
   The information obtaining module 83 is configured to                the node H and the node L as a content provider. However,
receive the live broadcasting network topology information             the node A still views the program in the live broadcasting
or the video-on-demand network topology information               15   mode, and the live broadcasting topology remains
required by the live broadcasting service or the video-on              unchanged, as shown in FIG. 10.
demand service selected by the mode selection module 82,                 At this time, the program viewing mode of the node F in
and a judgment result on whether to buffer the data flow               FIG. 9 is switched from the live broadcasting mode to the
corresponding to the live broadcasting service or the video            video-on-demand mode, so the node F needs to exit from the
on-demand service.                                                     live broadcasting topology, and only exists in the video-on
   The storage module 84 is configured to obtain the data              demand topology diagram to become a video-on-demand
flow according to a selection result of the mode selection             node. If the node F exits from the live broadcasting topology,
module 82, and buffer the data according to the judgment               the relation of the nodes of the topology diagram is neces
result obtained by the information obtaining module 83. The            sarily changed, and here, the live broadcasting topology
storage module 84 includes a downloading sub-module 841           25   needs to know the effect caused by the exiting of the node
and a buffer sub-module 842.                                           F on other nodes, and quickly takes measures. For example,
  The downloading sub-module 841 is configured to obtain               after the node F exits from the live broadcasting topology,
the corresponding data flow according to the selection result          the node G is isolated in the live broadcasting topology, and
of the mode selection module 82.                                       cannot obtain the live broadcasting video flow. At this time,
   The buffer sub-module 842 is configured to buffer the data     30   the node G is associated with other nodes in the live
flow according to the judgment result obtained by the                  broadcasting topology, for example, connects with the node
information obtaining module 841.                                      A, so as to ensure that the data is normally obtained, as
   FIG. 9 is a schematic topology diagram of the P2P based             shown in FIG. 11.
system for playing media according to the embodiment of                  Particularly, referring to FIG. 12, a detailed flow chart of
the present invention. Referring to FIG. 9, a left part shows     35   the technical solution according to the embodiment of the
nodes viewing the live broadcasting program, and a right               present invention is shown.
part shows the nodes in the video-on-demand mode and the                 A node enters the system, and logs in the network through
idle state.                                                            the RRS.
  The live broadcasting topology is connected by real lines,             The node judges whether the relevant content is buffered
and nodes relevant to the video-on-demand are connected by        40   by itself, and if yes, the node obtains the VOD ES corre
dashed lines, so as to form the video-on-demand topology               sponding to the buffered content, obtains the corresponding
network.                                                               SN through the VOD ES, and registers the information of
   The nodes E, F, and G play a dual-role in the system, in            the buffered content at the SN.
which the self application is the live broadcasting mode, and            After the node finishes registration, or judges that the
in the live broadcasting mode network topology; and the           45   content is not buffered in itself, the node selects the program
data buffered in the disks is utilized by the video-on-demand          content required to be obtained, and determines whether to
nodes, such that the nodes provide the data flow in the                obtain the content through the live broadcasting mode or the
Video-on-demand topology.                                              Video-on-demand mode.
   The nodes A, B, C, and D view the program in the live                 If the node selects the live broadcasting mode, the node
broadcasting mode, generally, the nodes enter the system for      50   obtains the information of the corresponding Live ES, the
the first time, such that the disk buffer is empty, and no data        corresponding VOD ES, and the corresponding neighboring
block may be utilized by the video-on-demand, such that the            nodes, and an identifier on whether to buffer the content
nodes only exist in the live broadcasting application. How             from the RRS, and then obtains the data flow through the
ever, the nodes register at the video-on-demand SN of the              information.
program, and once the nodes finish downloading the buffer         55     If the node selects the video-on-demand mode, the node
data block, the nodes report and then are added to the                 obtains the information of the corresponding VOD ES and
Video-on-demand topology.                                              the corresponding neighboring node set, and the identifier on
   The nodes I and J represent the SNs in the video-on                 whether to buffer the content from the RRS, and then obtains
demand topology, and the node O is the idle node not                   the data flow through the information.
viewing the program, but the disk has the buffer data, and the    60     After the sufficient data content is obtained, the node
node O is added to the video-on-demand topology structure.             judges whether to buffer the content according to the iden
The nodes H. K. L. M., and N represent common nodes in the             tifier on whether to buffer the content. Particularly, the node
Video-on-demand mode.                                                  judges whether to buffer the file level content, and if yes, the
  The nodes H, I, J, K, L, M, and N view the program in the            corresponding file level content is stored, and if no, it is
video-on-demand mode, and obtain the video flow in three          65   further judged whether to buffer the block level content, in
manners. The nodes obtain the video flow from the                      which if yes, the content block is buffered, and if no, the
VOD ES; the nodes obtain the video flow from the nodes of              content block is not buffered. After buffering the content, the
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node is further used as the content source of the video-on               whether the newly added node should buffer the obtained
demand, and provides the content for other nodes selecting               data flow. If a new node is added to the program, and if the
the video-on-demand.                                                     number of the node users currently using the content is
  Meanwhile, the process further includes the switching                  greater than a set file level threshold N1, the RRS returns
between the live broadcasting mode and the video-on                      storage flag information Flag 0 (not buffered) to the node:
demand mode.                                                             otherwise, the RRS returns the Flag-1 (buffered).
   For ease of description, in the embodiment of the present               When the live broadcasting node obtains a part of the
invention, the entire procedure is divided into five parts, and          complete content block, the live broadcasting node contacts
is described with reference to the accompanying drawings.                with the SN to register the content block (the SN sets a
The detailed description is given in the following.                 10   content block level threshold N2 of the content in the
   Referring to FIG. 13, the first part is a node log-in process.        managed domain, and if PeerNum corresponding to the part
The node enters the system, and firstly contacts with the                of the content block BlockID is greater than the content
RRS to log in the network. If the node is first time to use the          block level threshold N2, the SN returns Flagl=0 indicating
system, the disk buffer of the node is empty. The node does              that the content block needs not to be stored, otherwise,
not report the data to the RRS, but only logs in the network.       15   returns Flag 1 =1).
Otherwise, the node reports the data to the RRS, the RRS                    When Subsequently viewing the program, the node
returns the information of the VOD ES corresponding to the               obtains the newly downloaded files of the program, such that
content buffered in the disk, then the node obtains the                  the node periodically detects whether the content blocks (for
corresponding SN, and the SN registers the information of                example, 4M is one Block) are already downloaded, and
the content block buffered in the node.                                  registers and reports the information to the SN, so as to
   It should be noted that the node may only perform this                determine whether to store the downloaded content blocks in
step, that is, the node only opens the terminal, but does not            the disks. If the node in the live broadcasting mode buffers
continue to select the live broadcasting mode or the video               the new content, the node may be added to the video-on
on-demand mode. The condition is particularly appropriate                demand topology of the content, and provides the data flow
to a set top box application. In such case, the disk buffer file    25   for the video-on-demand nodes.
of the node may be utilized by the video-on-demand nodes                    The node in the live broadcasting state may be in a dual
in the topology, so as to provide the data flow for the                  structure. In the live broadcasting topology structure, the
Video-on-demand nodes.                                                   node in the live broadcasting state serves itself and other live
  Correspondingly, FIG. 13 shows a schematic flow chart                  broadcasting nodes; and in the video-on-demand topology,
when the user logs in, which is irrelevant to whether the user      30   the node in the live broadcasting state provides the buffered
Subsequently enters the live broadcasting, the video-on                  data for the nodes in the video-on-demand mode. If a certain
demand, or maintains the existing idle state. The process                node in the video-on-demand mode buffers the content of a
includes the following steps.                                            certain live broadcasting program, the node in the video
   In Step S1301, the node opens a log-in page.                          on-demand mode may also be used as the node in the live
   In Step S1302, the node logs from the RRS, and reports           35   broadcasting mode. As compared with the video-on-de
the buffered content data.                                               mand, the live broadcasting has a relatively stable topology
  In Step S1303, the RRS returns a set of VOD ESs                        structure, a relatively stable data flow providing, and a
relevant to the buffered content.                                        guaranteed quality, and the node in the video-on-demand
  If the node disk does not have the buffer data, the RRS is             mode is not required to provide the data flow support for the
only used for log-in of the node, but does not return the           40   node viewing the live broadcasting. Therefore, the logged-in
information of the VOD ES.                                               idle node may not be added to the live broadcasting topol
  In Step S1304, after obtaining the information of the                  Ogy.
VOD ES, the node is connected to the VOD ES.                               Particularly, referring to FIG. 14, a signaling interaction
  In Step S1305, the VOD ES returns the information of                   process of the live broadcasting mode includes the following
the SN of each content.                                             45   steps.
  In Step S1306, the node reports the content block infor                   In Step S1401, the node selects the content to enter the
mation to the SN.                                                        live broadcasting mode.
   In Step S1307, the SN modifies the data structure Reginfo                In Step S1402, the node establishes the connection with
in the SN accordingly, and records the newly added node                  the RRS for performing the interaction.
and the content block information.                                  50      In Step S1403, the node obtains the information of the
   In Step S1308, the SN returns a registration result.                  ESs (including the Live ES and the VOD ES corresponding
   The different contents may be registered at the same SN.              to the content) and the neighboring nodes.
or different SNs, and the VOD ES may also serve as an SN.                   The RRS determines whether the newly added node
   Referring to FIG. 14, the second part is an operation                 should buffer (that is, file-level buffer) the live broadcasting
process of the live broadcasting mode. In the live broad            55   content according to the live broadcasting topology condi
casting mode, the node contacts with the RRS, obtains the                tion of the program.
information of the Live ES and the information of the                       In Step S1404, the node establishes the connection with
neighboring nodes, and then establishes the connection with              the Live ES for performing the interaction.
the Live ES and the neighboring nodes, such that the node                   In Step S1405, the node obtains quick view data buffer
is added to the live broadcasting topology. Meanwhile, the          60   from the Live ES, and this step is optional.
node obtains the VOD ES of the live broadcasting content                    In Step S1406, the node establishes the connection with
from the RRS, and establishes the connection with the                    the VOD ES of the content for performing the interaction.
VOD ES, so as to obtain the information of the SN.                          In Step S1407, the node obtains the information of the SN
  Afterwards, the node obtains or receives the data flow of              of the content.
the live broadcasting from the live broadcasting neighboring        65     In Step S1408, the node interacts with the Peers indicated
nodes. The RRS returns a feedback on whether to store the                in the information of the SN, and obtains the required
data according to popularity of the program, and determines              content data.
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                             15                                                                         16
   The node is added to an appropriate position in the live              node in the idle state is preferentially selected, then the node
broadcasting topology, establishes connection with the                   in the video-on-demand mode is selected, and finally the
neighboring nodes to view the program, and downloads the                 node in the live broadcasting mode is selected. The selection
data from the neighboring nodes or the Live ES.                          reason is that the node in the idle state has the sufficient idle
   In Step S1409, the node detects whether a part of the                 resource, and the live broadcasting node stably and continu
complete content block is downloaded, and if yes, the node               ously obtains and transmits the data in the topology archi
registers the content block, and the procedure proceeds to               tecture, and consumes bandwidths.
Step S1410; otherwise, the procedure returns to Step S1408,                 When the video-on-demand node obtains a part of com
and the node continues to obtain the data.                               plete content block, the video-on-demand node contacts
  In Step S1410, the node registers the information of the          10   with the SN to register the content block (the SN sets the
file block at the SN. The SN determines whether to buffer the            content block level threshold of the content in the managed
block (here the content block is buffered, if the judgment               domain as N2, if PeerNum corresponding to the part of the
result on the file level buffer is true, the judgment here is not        content block BlockID is greater than N2, the SN returns
required, and the node directly stores and registers the data            that the block needs not to be stored, Flag 1-0; otherwise,
at the SN) according to the file buffer result and the storage      15   Flag1 =1).
condition of the content blocks in the managed domain.                      Particularly, referring to FIG. 16, a schematic flow chart
   In Step S1411, the SN modifies the data structure                     of the video-on-demand mode is shown, and the process
Reginfo, and keeps on synchronously updating the data.                   includes the following steps.
   In Step S1412, the SN returns a registration result.                     In Step S1601, the user selects the video-on-demand
   It should be further noted that the user registration and the         program to enter the video-on-demand mode.
data obtaining are synchronous, and only when the entire                    In Step S1602, the node firstly contacts with the RRS.
content is already downloaded, the entire process is ended.                 In Step S1603, the node obtains the information of the
   A data structure returned by the RRS to the live broad                VOD ES from the RRS, and obtains the information of the
casting user through the interaction is as shown in FIG. 15.             metadata, the number of the nodes currently using the
   VOD ES represents the video-on-demand ES of the live             25   content (or an identifier on whether to perform file-level
broadcasting program.                                                    buffer on the program content), and the information of the
   Live ES represents the live broadcasting ES of the live               nodes neighboring the play point.
broadcasting program.                                                       In Step S1604, the node establishes the connection with
   Flag represents a flag bit on whether to buffer the pro               the VOD ES for performing the interaction.
gram, 1 represents yes, and 0 represents no.                        30      In Step S1605, the node obtains quick data buffer (op
   NeighborList represents the neighboring nodes of the                  tional) of the program content and the information of the SN.
program in the live broadcasting topology, in which the List                In Step S1606, the node establishes the connection with
has a data structure, PeerlD represents an unique identifier             the SN.
of the node in the system, PeerAddr represents an Internet                 In Step S1607, the node obtains the connectable node list
Protocol (IP) address of the node, Relation represents a            35   form the SN, for establishing the connection.
relation between the node and the requesting node, including               In Step S1608, the node interacts with Peers indicated in
that the node is a grandparent node, a parent node, a child              the information of the SN, and obtains the required data.
node, or a grandchild node of the requesting node. The                     The node establishes the connection with the node
requesting node is only connected to the parent node and the             selected from the obtained node list or the VOD ES so as to
child node. The requesting node obtains the data from the           40   download data. The SN returns the node having a relatively
parent node, and transmits the data to the child node. When              large downlink bandwidth according to the information of
one kind of node is offline, other nodes notify and obtain the           the flag bit of the node.
replaced kind of the node.                                                  In Step S1609, the node detects whether a part of com
   Referring to FIG. 16, a third part is an operation process            plete content block is downloaded, and if yes, the node
of the video-on-demand mode.                                        45   registers the content block, and the procedure proceeds to
  The node obtains the information of the nodes having the               Step S1610; otherwise, the procedure returns to Step S1608,
close video-on-demand time point of the same program                     and the node continues to obtain the data.
required by the node from the RRS. Further, it is judged                    In Step S1610, once the content block is downloaded, the
whether the added node stores the downloaded data in the                 nodes registers the content at the SN, the SN determines
disks, that is, the file level storage, according to the state of   50   whether to buffer the block (if the judgment result on the file
the system. If the number of the node user currently using               level buffer is true, the judgment is not required, and the
the content is greater than the set file level threshold N1, the         node directly stores and registers the data at the SN) accord
RRS returns storage flag information Flag 0 (not store) to               ing to the storage condition of the content in the managed
the node; otherwise, the RRS returns the Flag-1 (store).                 domain.
   The node sends the request of obtaining the content to the       55
                                                                           In Step S1611, the SN modifies the data structure in the
VOD ES, and obtains the information of the SN relevant to                SN, and keeps on updating.
the requested content. Meanwhile, the node obtains the                     In Step S1612, the SN returns a registration result.
quick buffer data through the VOD ES (the step is optional),               The data structure returned by the RRS to the video-on
and selectively establishes the connection with the obtained             demand user through the interaction is as shown in Table 6.
node, so as to obtain the content data.                             60
   If the node is added to the video-on-demand system of the                                        TABLE 6
content for the first time, or the currently available nodes are
insufficient, the node initiates a node query request to the                               List of Data Structure Returned
SN, so as to obtain the node. According to the local                                   by RRS Under Video-On-Demand Mode
registration state (the video-on-demand mode, the live              65         VOD ES             Playpoint Nodes            Flag
broadcasting mode, or the idle state) of each node, the SN
gives a return to the node according to a policy, in which the
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                         17                                                                       18
  VOD ES represents the video-on-demand ES of the pro                     In Step S1706, it is judged that the data flow and the
gram.                                                                   current content block are not buffered.
  Playpoint Nodes represents the nodes neighboring the                    That is to say, when a file level comparison (the nodes
play time point of the node.                                            viewing the program in the topology) exceeds a threshold
  Flag represents the flag bit on whether to buffer the                 value and a microscopic content block comparison (the
program, in which 0 represents no, and 1 represents yes.                storage amount of the file block in the SN managed domain)
  Referring to FIG. 17, a fourth part is a process of judging           exceeds a threshold value, the file and the content block are
whether to buffer the content.                                          not stored.
   No matter in the live broadcasting or the video-on                     Referring to FIG. 18, a fifth part is an operation process
demand, many nodes view the hot programs. For the disk             10   of realizing the switch from the live broadcasting mode to
buffer of the program content, a comparison and judgment                the video-on-demand mode by dragging the live broadcast
process exists. It is not necessary to store all programs               ing node.
viewed by all the nodes as the newest content, as the disk                During the program playing procedure, the node may
volume is limited, the newly stored content replaces the                Switch the program or the mode at any moment, the node
former content, and it is not necessary for each node or most      15   drags the live broadcasting node to enter the video-on
of the nodes in the topology to store the same content.                 demand mode, drags the video-on-demand node, or Switches
   Referring to FIG. 17, the particular comparison and                  the program. When Switching from the live broadcasting
judgment process includes the following steps.                          mode to the video-on-demand mode, the node exits from the
   In Step S1701, the number of the buffer nodes required by            live broadcasting topology, keeps the position in the video
the service is set to the file level threshold, and the number          on-demand topology, then obtains the information of the SN
of the buffered content blocks required by the service is set           and the quick data buffer from the Vod ES of the video-on
to the content block level threshold.                                   demand content, and obtains the connectable node set of the
  In Step S1702, it is compared whether the existing buffer             drag point from the SN. The subsequent operation is similar
nodes recorded in the RRS is greater than the file level                to the operation of entering the video-on-demand.
threshold.                                                         25      When the node switches from the live broadcasting mode
  If the number of the existing nodes buffering the data flow           to the video-on-demand mode, usually a mode of obtaining
corresponding to the live broadcasting service or the video             the video flow is changed. In Such case, the node needs to
on-demand service and recorded in the RRS is smaller than               exit from the live broadcasting topology diagram, and is
the file level threshold, the procedure proceeds to Step                added to the video-on-demand topology diagram. Alterna
S1703.                                                             30   tively, the node maintains the position in the live broadcast
   If the number of the existing nodes buffering the data flow          ing topology diagram, so as to avoid the live broadcasting
corresponding to the live broadcasting service or the video             topology structure from being frequency changed, thereby
on-demand service and recorded in the RRS is greater than               reducing disturbances. Under the latter condition, the video
the file level threshold, the procedure proceeds to Step                on-demand node forwards the video flow as an intermediate
S1704.                                                             35   node in the live broadcasting topology. This condition has
  In Step S1703, it is determined to perform file-level buffer          the advantage that the live broadcasting topology structure is
on the data flow corresponding to the live broadcasting                 stabilized, so as to avoid the exiting operation, and the
service or the video-on-demand service.                                 disadvantage that the live broadcasting topology structure
  If it is judged that the file-level buffer is performed on the        may become quite gigantic, and many intermediate nodes do
data flow, the current content block is disk-buffered. Then,       40   not directly requires to provide the play flow in the live
each time when the node downloads a file block, the node                broadcasting mode. Therefore, it is selected that the node
saves the file block in the memory instead of immediately               exits from the live broadcasting topology, as shown in FIG.
writing the file block into the disk, and registers at the SN.          11. Generally, after one node enters the video-on-demand
After the SN returns the result, the node writes the content            mode, a probability of synchronizing with the live broad
from the memory to the disk. Under a default condition, the        45   casting is extremely small after a certain time, and the
writing is successful, and the interaction ends. If the writing         condition that the video-on-demand node of a certain pro
is not successful, the node sends the message to the SN, and            gram Subsequently enters the live broadcasting mode of the
the SN modifies the statistical information of the corre                program may not be considered.
sponding content block.                                                    Referring to FIG. 18, it is a schematic view of the
   In Step S1704, the data flow is not file-level buffered, and    50   signaling interaction in which the node enters the video-on
it is compared whether the number of the buffered content               demand node by dragging the live broadcasting node. When
blocks recorded in the SN is greater than the content block             Switching from the live broadcasting mode to the video-on
level threshold.                                                        demand mode, the node needs to exit from the live broad
   The node registers at the video-on-demand SN of the                  casting topology, and obtains the information of the node of
content (using the block as a unit), the SN returns the            55   the play time point after the dragging. The process particu
registration result, showing the content block information of           larly includes the following steps.
its managed node, and the node determines whether to buffer                In Step S1801, the user drags the live broadcasting node
the downloaded block according to the result returned by the            under the live broadcasting mode.
SN.                                                                        In Step S1802, the node registers at the RRS that the node
  Particularly, when the number of the buffered content            60   exits from the live broadcasting mode and switches to the
blocks recorded in the SN is smaller than the content block             Video-on-demand mode, and the Switched play point. The
level threshold, the procedure proceeds to Step S1705.                  node notifies the RRS that the node exits from the live
  When the number of the buffered content blocks recorded               broadcasting list and enters the video-on-demand list, and
in the SN is greater than the content block level threshold,            the RRS modifies the saved data accordingly, so as to meet
the procedure proceeds to Step S1706.                              65   the current actual condition of the node.
   In Step S1705, it is determined to perform content-block               The data structure sent by the node to the RRS is as shown
buffer on the current content block.                                    in Table 7.
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                                   19                                                                  20
                               TABLE 7                                       In another aspect, in addition to the above procedure of
                                                                          Switching from the live broadcasting mode to the video-on
         List of Data Structure Sent by Node to RRS when Switching        demand mode, the technical solution of the present inven
          from Live Broadcasting Mode to Video-On-Demand Mode             tion further includes other switching processes in the fol
    ContentID          PeerD        SwitchFlag        SwitchPoint         lowing.
                                                                             1. A Process that the Live Broadcasting Node Switches
                                                                          the Program
  ContentID represents an ID of the program content.                         The procedure that the live broadcasting node switches
  PeerID represents an ID of node.                                        the program is similar to the procedure of selecting the
  SwitchFlag represents a flag bit on which the node                 10   program for the first time, except that the live broadcasting
switches from the live broadcasting mode to the video-on                  node keeps the position in the video-on-demand topology,
demand mode.                                                              notifies the corresponding SN of modifying the state infor
  SwitchPoint represents the play time point after the node               mation of the node, and exits the live broadcasting topology
Switches to the video-on-demand.                                          in the last program.
   In Step S1803, the RRS returns the information of the             15      2. A Video-on-Demand Node Switching Process
node of the play time point after the dragging, allowing for                 The video-on-demand node may switch to enter the live
selecting the node when establishing the connection.                      broadcasting mode, Switch the program to enter the video
   In Step S1804, the node detects whether the sufficient data            on-demand or the live broadcasting.
locally exists, and if no, the node requests the quick data                  The procedure of switching to enter the live broadcasting
buffer from the VOD ES.                                                   mode is similar to the procedure of entering the live broad
   In Step S1805, the VOD ES returns the data to the node,                casting mode for the first time, in which the video-on
So as to reduce a drag delay.                                             demand node keeps the position in the video-on-demand
   In Step S1806, the node requests the node having the                   topology, the SN modifies the state information of the node,
registered requested data from the SN.                                    and the video-on-demand node enters the live broadcasting
   In Step S1807, the node obtains the node list from the SN.        25   topology of the new program. The procedure of Switching
   In Step S1808, the node interacts with the Peers, so as to             the program to enter the video-on-demand or the live
obtain the required data.                                                 broadcasting is similar to the interaction of entering the
   In Step S1809, the node detects whether a part of the                  video-on-demand and the live broadcasting for the first time,
complete content block is downloaded, and if yes, the node                in which the video-on-demand node keeps the position in the
registers the content block, and the procedure proceeds to           30   original video-on-demand topology diagram, and notifies
Step S1810; otherwise, the procedure returns to Step S1808,               the SN having the registered buffer data of modifying the
and the node continues to obtain the data.                                state of the node.
   In Step S1810, after the certain content blocks are down                  The above switching procedures are within the protection
loaded, the node registers the information at the SN. The SN              Scope of the present invention.
determines whether to buffer the block (if the judgment on           35      The technical solutions of the embodiments of the present
the file-level buffer Num-File:N1 is true, the judgment is                invention have the following advantages. By fully utilizing
not required, and the node directly stores and registers the              characteristics of the live broadcasting service and the
data at the SN) according to the storage condition of the                 Video-on-demand video service, the live broadcasting and
content block in the managed domain.                                      video-on-demand video service can be interfused to realize
   In Step S1811, the SN modifies the data structure                 40   a free switch from the live broadcasting to the video-on
RegInfo.                                                                  demand. Meanwhile, a disk-buffer method is modified, such
   In Step S1812, the SN returns a registration result.                   that program sources may be uniformly distributed and
   It should be further noted that for the original live                  connectable nodes are increased, and the data buffered in
broadcasting topology, the node ready to exit the mode may                user node disks is applied to the video-on-demand. In
have two selections. The node actively initiates an exiting          45   addition, according to a source distribution condition, the
request, for example, initiates an existing notification to the           system judges whether to buffer the currently viewed pro
Live ES or the neighboring nodes, and thus, the self                      gram, Such that Sufficient contents are ensured to be used for
organizing network may actively reply to the change of the                network applications, thus avoiding waste caused by the
topology structure. The other method is passive, the node                 over much content stored repeatedly, increasing the utiliza
does not actively notify the nodes in the live broadcasting          50   tion ratio of network resources, and improving the use
topology but directly exits, and the neighboring nodes detect             experience of users.
the exiting of the node, and then are self-adaptive by                       Through the above description in the detailed description,
adopting the policies.                                                    it is clear to persons skilled in the art that the present
   Referring to FIG. 19, it is a schematic flow chart of the              invention may be accomplished through hardware, or
first exiting solution. The node interacts with the Live ES,         55   through software plus necessary universal hardware plat
and notifies the Live ES that the node will switch to the                 form. Base on this, the technical solutions of the present
Video-on-demand mode. The process includes the following                  invention may be embodied in the form of a software
steps.                                                                    product. The software product may be stored in one or more
  In Step S1901, the user selects the switch mode, and                    nonvolatile storage media (for example, CD-ROM, USB
enters the video-on-demand.                                          60   flash drive, or removable hard disk) and contain several
   In Step S1902, when exiting, the node actively sends a                 instructions configured to instruct a computer equipment
notification, so as to notify the Live ES.                                (for example, a personal computer, a server, or a network
   In Step S1903, the Live ES sends the notification to other             equipment) to perform the method according to the embodi
nodes.                                                                    ments of the present invention.
  In Step S1904, the network self-organizes a dynamic                65      The above descriptions are merely preferred embodi
adjustment, so as to reply to the change of the node in the               ments of the present invention. It should be noted by persons
network.                                                                  of ordinary skill in the art that modifications and improve
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ments may be made without departing from the principle of                performing, by a core server (CS), a uniform encoding
the present invention, which should be construed as falling                process on a content Source of the live broadcasting
within the scope of the present invention.                                  service or the video-on-demand service;
                                                                         sending the processed content source to a corresponding
  What is claimed is:                                             5         live broadcasting service edge server (Live ES) or a
   1. A peer-to-peer (P2P) based method for playing media                   corresponding video-on demand service edge server
content, comprising:                                                        (VOD ES); and
   logging into a network by a first node, wherein;                      selecting by a user the live broadcasting service through
      the network includes a plurality of interconnected                    the Live ES, and selecting the video-on-demand ser
        nodes each arranged in one of a live broadcasting         10
                                                                            vice through the VOD ES.
        topology portion and a video-on-demand topology                  3. The P2P based method for playing media according to
        portion of the network, the live broadcasting topol            claim 1, wherein the logging in the network comprises:
        ogy portion is different and separate from the video             logging into a user request routing system (RRS);
        on-demand topology portion without sharing a com
       mon root node, wherein at least Some of the nodes          15     judging whether buffer data exists in the local disks;
       that are part of the live broadcasting topology and at            obtaining video-on-demand service information corre
       least some of the nodes that are part of the video                   sponding to the buffer data from the RRS when the
       on-demand topology correspond to end user nodes                      buffer data exists; and
       and the live broadcasting topology portion and the                performing an information registration of the buffer data
       Video-on-demand topology portion each provide dif                    according to the video-on-demand service information.
       ferent media content originated from different root               4. The P2P based method for playing media according to
       nodes,                                                          claim 3, wherein the video-on-demand service information
  wherein the first node corresponds to an end user node,              corresponding to the buffer data comprises:
     and wherein nodes that are part of the video-on-demand              information of the VOD ES and a super node (SN)
     topology receive at least some different media content       25        corresponding to the buffer data;
     from nodes that are part of the live broadcasting                   wherein the information registration of the buffer data is
     topology:                                                              an information registration performed at the SN.
  Selecting, by the first node, a live broadcasting service;             5. The P2P based method for playing media according to
  registering, by a server, the first node as belonging to the         claim 2, wherein the selecting the live broadcasting service
     live broadcasting topology portion of the network;           30   comprises:
  receiving by the first node, a judgment result on whether              obtaining information of the Live ES, information of the
     to buffer a video data flow corresponding to the live                  VOD ES, and information of live broadcasting neigh
     broadcasting service;                                                  boring nodes corresponding to the live broadcasting
  obtaining the video data flow corresponding to the live                   service.
     broadcasting service according to a selection result, and    35     6. The P2P based method for playing media according to
     buffering the video data flow in a local disk of the first        claim 5, wherein the obtaining the corresponding data flow
     node, when the judgment result is a yes;                          according to the selection result, and buffering the video data
  streaming, from the first node, at least some of the                 flow when the judgment result is a yes comprises:
     buffered video data flow corresponding to the live                  obtaining an SN corresponding to the live broadcasting
     broadcasting service to be buffered in another end user      40        service through the VOD ES:
     node that is part of the video-on-demand topology                   downloading the video data flow corresponding to the live
     which receives different content from the different root               broadcasting service from the Live ES or the live
     node:                                                                  broadcasting neighboring nodes; and
  receiving, from the first node, an indication of a drag                performing a content registration of the live broadcasting
     event, the drag event indicating an earlier point in a       45        Service at the SN.
     Video timeline corresponding to the live broadcasting               7. The P2P based method for playing media according to
     service from where the buffered video data flow should            claim 1, wherein the selecting the video-on-demand service
     be streamed;                                                      and receiving the judgment result on whether to buffer the
  registering the first node as belonging to the video-on              Video data flow corresponding to the video-on-demand
     demand topology portion of the network which                 50   service comprises:
     receives different content from the different root node:            obtaining information of a VOD ES corresponding to the
  determining a second node that contains the video data                    video-on-demand service, information of a play node
    flow associated with the earlier point in the video                     neighboring a play point of the video-on-demand ser
    timeline corresponding to the live broadcasting service;                vice, and information on whether to buffer the video
     and                                                          55        data flow corresponding to the video-on-demand Ser
  providing, by the second node, the video data flow                        W1C.
    associated with the earlier point in the video timeline              8. The P2P based method for playing media according to
    corresponding to the live broadcasting service to the              claim 7, wherein the obtaining the corresponding video data
     first node, such that the another end user is enabled to          flow according to the selection result, and buffering the
     streams or buffers the different media content from both     60   Video data flow when the judgment result is a yes comprises:
     the video-on-demand service which receives different                obtaining an SN and the video data flow corresponding to
     content from the different root node and from the live                 the video-on-demand service through the VOD ES;
     broadcasting service corresponding to from the earlier              requesting a connectable node set from the SN:
     point in the video time line to the same video timeline             downloading the video data flow corresponding to the
     most currently buffered in the first node.                   65        video-on-demand service from the VOD ES or nodes
  2. The P2P based method for playing media according to                    in the connectable node set; and performing a content
claim 1, before logging into the network, further comprising:               registration of the video-on-demand service at the SN.
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  9. The P2P based method for playing media according to                    sponding to the live broadcasting service or the
claim 1, wherein the judging whether to buffer the video data               video-on-demand service which receives different
flow corresponding to the live broadcasting service or the                  content from the different root node; and
Video-on-demand service comprises:                                        obtain the data flow corresponding to the live broad
  judging whether the number of buffer nodes of content of                  casting service according to a selection result, and
     the video data flow corresponding to the live broad                    buffer the video data flow when the judgment result
     casting service or the video-on-demand service is                      is a yes, wherein the node is further caused to stream
     smaller than a set file level threshold, and if yes,                   at least some of the buffered data to be buffered in
     buffering the video data flow corresponding to the live                another end user node that is part of the video-on
     broadcasting service or the video-on-demand service.       10          demand topology which receives different content
  10. The P2P based method for playing media according to                   from the different root node,
claim 9, further comprising:                                           wherein the node is further caused to:
  judging whether the number of buffer nodes of content                   communicate an indication of a drag event, the drag
     blocks of the video data flow corresponding to the live                event indicating an earlier point in a video timeline
     broadcasting service or the video-on-demand service is     15          corresponding to the live broadcasting service from
     Smaller than a set content block level threshold, and if               where the buffered video data flow should be
    yes, buffering the video data flow corresponding to the                 streamed;
    live broadcasting service or the video-on-demand ser                  in response to the drag event, the node is caused to join
    W1C.                                                                     the video-on-demand topology portion of the net
  11. The P2P based method for playing media according to                   work, determine a second node that contains the
claim 1, further comprising:                                                video data flow associated with the earlier point in
  dragging a play point when the live broadcasting service                  the video timeline, and receive the video data flow
     is selected; registering at an RRS after dragging the                  associated with the earlier point in the video timeline
     play point, and exiting the live broadcasting mode;                    corresponding to the live broadcasting service from
  obtaining information of the video-on-demand node from        25          the second node, such that the another end user node
    the RRS:                                                                streams or buffers the different media content from
  obtaining an SN corresponding to the video-on-demand                      both the video-on-demand service which receives
    service through a VOD ES for performing the video                       different content from the different root node and
     on-demand service;                                                     from the live broadcasting service corresponding to
  requesting a connectable node set from the SN:                30          from the earlier point in the video time line to the
  downloading the video data flow corresponding to the                      same video timeline most currently buffered in the
    video-on-demand service from the VOD ES or nodes                        first node.
    in the connectable node set; and                                   14. The node according to claim 13, wherein the node is
  performing a content registration of the video-on-demand           further caused to:
     Service at the SN.                                         35     judge whether buffer data locally exists; and
  12. The P2P based method for playing media according to              obtain video-on-demand service information correspond
claim 11, further comprising:                                            ing to the buffer data when the buffer judging sub
  obtaining from the RRS the judgment result on whether to               module judges that the buffer data locally exists, and
     buffer the video data flow corresponding to the video               perform an information registration of the buffer data
     on-demand service;                                         40       according to the video-on-demand service information.
  requesting the connectable node set from the SN, if the              15. The node according to claim 13, wherein the node is
    judgment result is yes; downloading the video data flow          further cased to:
    corresponding to the video-on-demand service from the              obtain the video data flow according to the selection
    VOD ES or the nodes in the node set; and                              result; and
  performing the content registration of the video-on-de        45     buffer the video data flow when the judgment result
     mand service at the SN.                                              obtained is a yes.
  13. A node, comprising:                                               16. A user request routing system (RRS), comprising one
  one or more computing hardware which executes program              or more computing hardware which executes program
    instructions stored in a non-transitory computer-read            instructions stored in a non-transitory computer-readable
    able storage medium, which cause the node to:               50   storage medium, which cause the RRS to:
    log into a network, wherein the network includes a                  manage information of a first node;
       plurality of interconnected nodes each arranged in               manage a live broadcast topology structure that defines
       one of a live broadcasting topology portion and a                  the interconnection between a plurality of nodes receiv
       Video-on-demand topology portion of the network,                   ing live broadcast content, and a video-on-demand
       the live broadcasting topology portion is different      55        topology structure that defines the interconnection
       and separate from the video-on-demand topology                     between a plurality of notes receiving video-on-de
       portion without sharing a common root node,                        mand content, the live broadcasting topology portion is
       wherein the live broadcasting topology portion and                 different and separate from the video-on-demand topol
       the video-on-demand topology portion each provide                  ogy portion without sharing a common root node,
       different media content originated from different root   60        wherein:
       nodes;                                                          at least some of the nodes that are part of the live
     Select a live broadcasting service or a video-on-demand             broadcasting topology and at least some of the nodes
        service, wherein the node is registered with a net               that are part of the video-on-demand topology corre
       work topology portion associated with the selection;               spond to end user nodes and the live broadcasting
     receive network information required by the selected       65       topology structure and
        service and a judgment result on whether to buffer in          the video-on-demand topology structure each provide
       a local disk of the node, a video data flow corre                  different content originated from different root node,
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  the first node corresponds to an end user node, and nodes             computing hardware which executes respective pro
    that are part of the video-on-demand topology receive               gram instructions stored in respective non-transitory
     at least some different media content of the different             computer-readable storage medium, to cause the cor
    root node from nodes that are part of the live broad                responding CS, Live ES, VOD ES, RRS, SN and end
    casting topology; and                                               user node to perform respective functions; wherein:
  manage information of one or more live broadcast edge               the respective one or more hardware in the CS executes
    servers and one or more video-on-demand edge serv                   respective program codes to cause the CS to perform an
     ers; wherein                                                       encoding process on different media content originated
  the RRS is further caused to:
    judge whether the number of buffer nodes of content of       10
                                                                        from respective different content root nodes, and send
      a video data flow corresponding to a live broadcast               the processed different media content to the corre
      ing service or a video-on-demand service is smaller                sponding Live ES or VOD ES:
       than a set file level threshold.                               the respective one or more hardware in the Live ES
   17. A Super node (SN), comprising one or more comput                 executes respective program codes to cause the
ing hardware which executes program instructions stored in       15     Live ES to obtain a video data flow corresponding to
a non-transitory computer-readable storage medium, which                a live broadcasting service from the CS, and provide
cause the Super node to:                                                the live broadcasting service video data flow to the end
  record state information of each node in a domain; and                user node:
  judge whether the number of buffer nodes of content                 the respective one or more hardware in the VOD ES
     blocks of a video data flow corresponding to one of a              executes respective program codes to cause the
     live broadcasting service and a video-on-demand ser                VOD ES to obtain a video data flow corresponding to
     vice is smaller than a set content block level threshold,          a video-on-demand service from the CS, and provide
     according to the state information of each node in the             the video-on-demand service video data flow for the
    domain, wherein;                                                    end user node:
  at least some of the nodes that are part of the live           25   the respective one or more hardware in the RRS executes
    broadcasting topology and at least some of the nodes                respective program codes to cause the RRS to manage
    that are part of the video-on-demand topology corre                 the Live ES, the VOD ES, and the end user node in a
    spond to end user nodes and the live broadcasting                   network;
    Service and the video-on-demand service each provides             the respective one or more hardware in the SN executes
    different contents originated from different root node:      30
                                                                        respective program codes to c cause the SN to manage
  the live broadcasting topology portion is different and               each node and the different media content in a domain;
    separate from the video-on-demand topology portion                  and
    without sharing a common root node:                               the respective one or more hardware in the end user node
  the first node corresponds to an end user node, and nodes             executes respective program codes to cause the end
    that are part of the video-on-demand topology receive        35
                                                                        user node to receive, transmit, and buffer in a local disk,
     at least some different media content of the different
     root node from nodes that are part of the live broad               the video data flow corresponding to the live broad
     casting topology.                                                  casting service or the video-on-demand service which
  18. A peer-to-peer (P2P) based system for playing media,              receives different content from the different content
comprising:                                                      40     root node, wherein when the end user node is receiving
  a core server (CS);                                                   a Video data flow corresponding to the live broadcast
  a live broadcasting service edge server (Live ES);                    ing service, and when an amount of data buffered by the
  a video-on-demand service edge server (VOD ES),                       end user node reaches a threshold, the end user node is
                                                                        further caused to stream the buffered video data to a
     wherein the Live ES and the VOD ES each provides                   different end user node, such that the different end user
     different contents originated from different root nodes,    45
                                                                        node streams or buffers the different media content
     the live broadcasting service edge server is different             from both the video-on-demand service of the different
     and separate from the video-on-demand service edge                 content root node and from the live broadcasting ser
     server without sharing a common root node, a user                  Vice corresponding to from the earlier point in the video
     request routing system (RRS), a super node (SN), and
     an end user node,                                           50     time line to a same video timeline most currently
                                                                        buffered in the first node.
  wherein: the CS, Live ES, VOD ES, RRS, SN and end
     user node, each comprises respective one or more
